                             UNITED STATES OF AMERICA
                          MERIT SYSTEMS PROTECTION BOARD

     JOAN WILLIAMS,                                    DOCKET NUMBER
                  Appellant,                           DC-1221-23-0592-W-1

                  v.

     DEPARTMENT OF DEFENSE,                            DATE: August 26, 2024
                 Agency.



               THIS ORDER IS NONPRECEDENTIAL 1

           Joan Williams , FPO, AE, pro se.

           Maxwell Selz and Jonathan Beyer , APO, AE, for the agency.


                                             BEFORE

                                  Cathy A. Harris, Chairman
                               Raymond A. Limon, Vice Chairman
                                  Henry J. Kerner, Member*

                               *Member Kerner recused himself and
                       did not participate in the adjudication of this appeal.

                                        REMAND ORDER

¶1         The appellant has filed a petition for review of the initial decision, which
     dismissed her individual right of action (IRA) appeal for lack of jurisdiction. For
     the reasons discussed below, we GRANT the appellant’s petition for review,



     1
        A nonprecedential order is one that the Board has determined does not add
     significantly to the body of MSPB case law. Parties may cite nonprecedential orders,
     but such orders have no precedential value; the Board and administrative judges are not
     required to follow or distinguish them in any future decisions. In contrast, a
     precedential decision issued as an Opinion and Order has been identified by the Board
     as significantly contributing to the Board’s case law. See 5 C.F.R. § 1201.117(c).
                                                                                         2

     VACATE the initial decision, and REMAND this appeal to the regional office for
     further adjudication in accordance with this Remand Order.

                                      BACKGROUND
¶2         The agency employed the appellant as a Guidance Counselor at
     Naples Middle School/High School in Naples, Italy. Initial Appeal File (IAF),
     Tab 1 at 1, 7, 17.     On March 4, 2022, the agency issued her a Notice of
     Termination During Trial Period. Id. at 9. Four days later, on March 8, 2022, the
     agency rescinded the termination and reinstated the appellant to her former
     position. Id. at 11, 20.
¶3         On March 20, 2023, the appellant filed a whistleblower retaliation
     complaint with the Office of Special Counsel (OSC) alleging that the agency was
     retaliating against her for making protected disclosures, including by terminating
     her employment. Id. at 4, 14, 19-20, 26. On May 16, 2023, OSC notified the
     appellant that it had terminated its inquiry into her allegations and of her right to
     seek corrective action from the Board. Id. at 26. On July 10, 2023, the appellant
     filed an IRA appeal with the Board, again challenging her termination and
     alleging gross negligence and due process violations by the agency.         Id. at 3.
     She also asserted, without specifics, that the agency had violated veterans’
     preference requirements.    Id. at 5.   The administrative judge issued an order
     which set forth the appellant’s burden to establish jurisdiction over an IRA appeal
     and ordered her to present evidence and argument on the jurisdictional issue.
     IAF, Tab 3. The appellant did not respond to the administrative judge’s order. In
     response, the agency argued that the appeal should be dismissed for lack of
     jurisdiction. IAF, Tab 6 at 4. The administrative judge issued an initial decision
     dismissing the appeal for lack of jurisdiction on the basis that the appellant’s
     description of her disclosures was too vague to meet the nonfrivolous pleading
     standard. IAF, Tab 7, Initial Decision (ID) at 4-6.
                                                                                           3

¶4         The appellant has filed a timely petition for review in which she provides
     additional details in support of her claims. Petition for Review (PFR) File, Tab 1.
     The agency has responded to the petition for review.           PFR File, Tab 5.     On
     review, the appellant provides a narrative timeline and documentation in support
     of her allegations of whistleblower reprisal. PFR File, Tab 1 at 6-39. She alleges
     that, in retaliation for her disclosures and activity, agency officials took a number
     of actions against her between January 2022 and June 2023, including issuing her
     the March 4, 2022 termination notice. Id. at 7-14.

                      DISCUSSION OF ARGUMENTS ON REVIEW
¶5         The Board has jurisdiction over an IRA appeal if the appellant has
     exhausted her administrative remedies before OSC and makes nonfrivolous
     allegations that (1) she made a protected disclosure described under 5 U.S.C.
     § 2302(b)(8) or engaged in protected activity described under 5 U.S.C. § 2302(b)
     (9)(A)(i), (B), (C), or (D), and (2) the disclosure or protected activity was a
     contributing factor in the agency’s decision to take or fail to take a personnel
     action as defined under 5 U.S.C. § 2302(a). 2         Salerno v. Department of the
     Interior, 123 M.S.P.R. 230, ¶ 5 (2016).
     The appellant demonstrated by preponderant evidence that she exhausted some,
     but not all, of her claims before OSC.
¶6         The administrative judge did not address whether the appellant exhausted
     her allegations of whistleblower reprisal before OSC. Instead, the administrative
     judge held that the content of the appellant’s alleged protected disclosures was
     “far too vague, unsupported, and constitute mere pro forma allegations.” ID at 4.
     He based his conclusion on the appellant’s only description of her disclosures
     below, which came from the OSC complaint she attached to her initial appeal.
     2
       The appellant does not reassert her claims of gross negligence and due process
     violations on review. IAF, Tab 1 at 3. The Board lacks jurisdiction over these claims
     in an IRA appeal, and therefore we decline to consider them further. See Salerno v.
     Department of the Interior, 123 M.S.P.R. 230, ¶ 15 (2016) (determining that the Board
     does not have jurisdiction to hear a claim of harmful procedural error in the context of
     an IRA appeal).
                                                                                              4

     IAF, Tab 1 at 19.       In her OSC complaint, she described her disclosures as
     “concerns related to professional practices not followed by administrators that
     impact students as it relates to student records, violation of policy, [and] unfair
     advantage.” Id.¶7         Although we discern no error in the administrative judge’s reasoning, the
     appellant has presented more specific allegations on review concerning her
     disclosures. See Schmittling v. Department of the Army, 219 F.3d 1332, 1336-37
     (Fed. Cir. 2000) (explaining that, in an IRA appeal, the Board may find it lacks
     jurisdiction based on an appellant’s failure to meet any one of the jurisdictional
     prerequisites); see also Gabel v. Department of Veterans Affairs , 2023 MSPB 4,
     ¶ 6 (finding that a nonfrivolous allegation of a protected disclosure must be
     specific and detailed rather than a vague allegation of wrongdoing). On review,
     she expands upon the allegations that she made below, and she submits
     documents, most of which were not in the record below. Jurisdiction may be
     raised at any time. Pirkkala v. Department of Justice, 123 M.S.P.R. 288, ¶ 5
     (2016).    Therefore, we have considered the appellant’s new arguments and
     evidence to the extent that they impact the Board’s jurisdiction over this appeal.
     See id. Because we are considering the appellant’s submissions based on their
     jurisdictional implications, we need not resolve the parties’ arguments on review
     as to whether she exercised due diligence in presenting this information below.
     PFR File, Tab 1 at 4-5, Tab 5 at 5-6.
¶8         The appellant identifies four specific putative disclosures on review, as
     follows. 3 She alleges that, in September 2021, a colleague improperly acted as an
     Advanced Placement (AP) Coordinator against agency policy, and improperly
     asked the appellant to sign documents as the AP Coordinator. PFR File, Tab 1
     at 6. She also claims that, in January 2022, a teacher asked her to “change [a]
     student[’s] historical record (transcript) which would result in a student receiving
     3
       In light of the appellant’s pro se status, we have interpreted her arguments in the light
     most favorable to her. See Miles v. Department of Veterans Affairs, 84 M.S.P.R. 418,
     ¶ 10 (1999).
                                                                                         5

      an unfair advantage (weighted [grade point average (GPA)]).” Id. at 8-9. She
      further alleges that, in February 2022, the school Principal asked her to change
      his daughter’s schedule without following the agency’s procedures for such a
      request.    Id. at 9.   Finally, according to the appellant, in February 2023, the
      Principal “threatened [her] with administrative action” after insisting that she
      “use forms and documents not approved by the [Overseas Federation of Teachers
      (OFT)] in compliance with [the agency’s] Collective Bargaining Agreement
      (CBA).” Id. at 13.
¶9           Because we consider these jurisdictional allegations for the first time here,
      we start with the issue of whether the appellant proved exhaustion of her OSC
      remedy. An appellant must prove exhaustion by preponderant evidence. 5 U.S.C.
      § 1214(a)(3); Cooper v. Department of Veterans Affairs, 2023 MSPB 24, ¶ 5;
      5 C.F.R. § 1201.57(c). Preponderant evidence is the degree of relevant evidence
      that a reasonable person, considering the record as a whole, would accept as
      sufficient to find that a contested fact is more likely to be true than untrue.
      5 C.F.R. § 1201.4(q).
¶10          Although the Board’s jurisdiction over an IRA appeal is limited to those
      issues that have been previously raised with OSC, the appellant may provide a
      more detailed account of her whistleblowing before the Board than she did to
      OSC.       Chambers v. Department of Homeland Security, 2022 MSPB 8, ¶ 10
      (citations and internal quotations omitted).     The substantive requirements of
      exhaustion are met when an appellant has provided OSC with sufficient basis to
      pursue an investigation. Id. An appellant may demonstrate exhaustion through
      her initial OSC complaint, correspondence with OSC, or through other
      sufficiently reliable evidence. Id., ¶ 11.
¶11          We conclude that the appellant exhausted three of the four specific
      purported disclosures she identifies on review. As detailed above, the appellant
      alleged to OSC that she disclosed “a series of concerns related to professional
      practices not followed by administrators that impact students as it relates to
                                                                                         6

      student records, violation of policy, [and] unfair advantage.”            IAF, Tab 1
      at 19-20. She further alleged that, in response to these disclosures, the agency
      initially terminated her. Id. at 20. Although the agency rescinded her termination
      4 days later, she alleged that the agency then took the following actions against
      her: (1) reassigned her; (2) created a hostile work environment; (3) placed her on
      an improvement plan; and (4) changed her duties/working conditions.              Id.
      at 20-21. In OSC’s closeout letter, which the appellant provided for the first time
      on review, OSC explained that, in correspondence with the appellant that does not
      appear in the record, she shared “several instances of the agency manipulating
      student’s [sic] permanent education records” and that the agency “threatened [her]
      with administrative action after insisting that [she] use forms that had not been
      approved.” PFR File, Tab 1 at 15.
¶12        We find that the appellant’s allegations to OSC could have led to
      an investigation of her putative disclosures that a teacher asked her to change a
      student’s transcript in January 2022, the following month the Principal asked her
      to change his daughter’s schedule, and, in February 2023, the Principal insisted
      that the appellant use forms that were not OFT-approved. Id. at 8-9, 13. Each of
      these alleged disclosures concerns the use of improper forms or manipulation of
      student records, matters that the appellant raised with OSC. Id. at 15.
¶13        However, the appellant did not exhaust one of her purported disclosures.
      According to the appellant, in September 2021, she disclosed that the agency
      violated the policies of OFT, an agency-endorsed non-profit, when an individual
      acted in the role of AP Coordinator while serving as an AP Government teacher
      and asked the appellant to do the same despite the appellant’s daughter’s
      enrollment in AP classes.     Id. at 6.   The appellant has not alleged that this
      disclosure concerned improperly changing records or using improper forms. Id.
      Because the appellant did not provide OSC with a sufficient basis to pursue an
      investigation into this disclosure, she has not proven by preponderant evidence
                                                                                        7

      that she exhausted this allegation before OSC.       See Chambers, 2022 MSPB 8,
      ¶ 10.
¶14           As to the alleged personnel actions, the appellant did not exhaust with OSC
      her reassignment from serving high school students to serving middle school
      students.     PFR File, Tab 1 at 13-14.      This action allegedly took place in
      June 2023, after OSC had closed out its investigation.            Id. at 13, 15-17.
      Therefore, the Board lacks jurisdiction over this reassignment.

      The appellant established jurisdiction over her IRA appeal.
¶15           A nonfrivolous allegation of a protected whistleblowing disclosure is an
      allegation of facts that, if proven, would show that the appellant disclosed a
      matter that a reasonable person in her position would believe evidenced one of the
      categories of wrongdoing specified in 5 U.S.C. § 2302(b)(8).              Mudd v.
      Department of Veterans Affairs, 120 M.S.P.R. 365, ¶ 8 (2013); 5 C.F.R.
      § 1201.4(s); see Hessami v. Merit Systems Protection Board, 979 F.3d 1362,
      1368-69 (Fed. Cir. 2020) (quoting 5 C.F.R. § 1201.4(s) and other sources as
      supporting the proposition that, in determining whether an allegation is
      nonfrivolous, the Board may not weigh the agency’s contrary evidence).
              The appellant’s allegations of agency wrongdoing in February 2022
              and February 2023, unaccompanied by disclosures, are not
              protected.
¶16           As discussed above, the appellant argues that she disclosed wrongdoing in
      February 2022. PFR File, Tab 1 at 9. Specifically, she claims that the Principal
      directed her to remove a course from his daughter’s schedule outside of the
      deadline designated by Department of Defense Education Activity (DODEA)
      Instruction    1367.01   (Instruction   1367.01).   Id.;   DODEA,    Administrative
      Instruction 1367.01: High School Graduation Requirements and Policy (July 27,
      2021)       https://www.dodea.edu/regulation/high-school-graduation-requirements-
      and-policy (last visited Aug. 26, 2024); see Graves v. Department of Veterans
      Affairs, 123 M.S.P.R. 434, ¶ 19 n.3 (2016) (taking official notice of an agency
                                                                                        8

      directive available on the internet).   The appellant does not allege that she
      disclosed to anyone that the Principal’s actions violated Instruction 1367.01 or
      were otherwise improper. Rather, she asserts that she responded to the Principal
      and others via email, notifying them of the proper process for modifying a
      student’s schedule.   PFR File, Tab 1 at 9.     Similarly, the appellant has not
      nonfrivolously alleged that she made a protected disclosure in February 2023 to
      the Principal that he had ordered her to use forms that were not approved by OFT
      or in violation of the CBA. Although she alleges that she was threatened with
      administrative action for declining to use forms, she does not allege that she
      advised anyone that use of the forms was wrongful. Id. at 13.
            The appellant established jurisdiction over her January 2022
            disclosure.
¶17        As discussed above, the appellant also alleges that a teacher requested that
      the appellant change a student’s transcript. Id. at 8. According to the appellant,
      she declined to make the change, notifying the teacher that granting the request at
      that time would impact the student’s GPA in violation DODEA Administrative
      Instruction 1367.01. Id. at 8-9.
¶18        We find that the appellant has made a nonfrivolous allegation that she
      reasonably believed that her statement to her coworker evidenced potential
      wrongdoing. An appellant is not required to identify the particular statutory or
      regulatory provision that the agency allegedly violated when her statements and
      circumstances of those statements clearly implicate an identifiable law, rule, or
      regulation. Mason v. Department of Homeland Security, 116 M.S.P.R. 135, ¶ 17
      (2011). Although the appellant has not identified the specific provision, she may
      have been alluding to section 5.1 of Instruction 1367.01. That section dictates the
      process for calculating students’ GPAs.      The appellant may reasonably have
      believed that altering a student’s GPA was inconsistent with the process or with
      the stated purpose of the process of ensuring that “[t]he GPA for all students is
      calculated on an equitable basis.”
                                                                                            9

¶19        Further, an appellant is not required to correctly label the category of
      wrongdoing. El v. Department of Commerce, 123 M.S.P.R. 76, ¶ 11 (2015), aff’d
      per curiam, 663 F. App’x 921 (Fed. Cir. 2016).             Therefore, we have also
      considered whether she might reasonably have believed that her disclosure
      evidenced an abuse of authority, one of the categories of wrongdoing identified in
      5 U.S.C. § 2302(b)(8). An abuse of authority occurs when there is an “[a]rbitrary
      or capricious exercise of authority that is inconsistent with the [agency’s]
      mission.”     Smolinski v. Merit Systems Protection Board, 23 F.4th 1345, 1352
      (Fed. Cir. 2022) (quoting 10 U.S.C. § 2409(g)(6)(1), since transferred to
      10 U.S.C. § 4701(g)(6)(1) (defining “abuse of authority” for purposes of
      whistleblower protections for Department of Defense and National Aeronautics
      and Space Administration contract employees); 41 U.S.C. § 4712(g)(1) (defining
      “abuse of authority” for purposes of whistleblower protections for Federal
      contract employees)). The appellant indicated in her petition for review that she
      believed that changing the student’s transcript would result in an “unfair
      advantage (weighted GPA).” PFR File, Tab 1 at 8. Her allegations are sufficient
      to constitute a nonfrivolous allegation that she reasonably believed the teacher’s
      request constituted an abuse of authority that was contrary to the DODEA’s stated
      educational       mission     and      emphasis       on       equity.              See
      https://www.dodea.edu/about/blueprint-continuous-improvement             (last   visited
      Aug. 26, 2024).
¶20        Although the appellant did not allege that any wrongdoing had occurred at
      the time she spoke to the teacher in January 2022, her allegations are sufficient at
      the jurisdictional stage of this IRA appeal. The Board has found that an employee
      need not wait until an actual violation of law occurs for her disclosure to be
      protected under whistleblower reprisal statutes. Covington v. Department of the
      Interior, 2023 MSPB 5, ¶ 38.        Such a requirement would mean losing an
      opportunity to avert wrongdoing and would have a chilling effect on
      whistleblowing. Id. When, as here, a disclosure concerns a potential violation of
                                                                                         10

law, as opposed to an event that has already taken place, an appellant must prove
that she reasonably believed the potential wrongdoing was real and immediate.
Id. In order to strike a balance between preventing Government wrongdoing on
the one hand and encouraging “healthy and normal” discussions of “possible
courses of action” that may avoid such wrongdoing on the other hand, the
determination of whether the disclosure is protected “depends on the facts.” Id.(quoting Reid v. Merit Systems Protection Board, 508 F.3d 674, 678 (Fed. Cir.
2007)). Therefore, the determination of whether an appellant reasonably believed
the wrongdoing was real and immediate should be evaluated at the merits stage of
an IRA appeal, and not at the jurisdictional stage. Reid, 508 F.3d at 678. Under
the circumstances, we find that the appellant has nonfrivolously alleged that she
reasonably believed when she made her disclosure to the teacher in January 2022
that the wrongdoing was real and immediate. Our conclusion is supported by her
assertion on review that, notwithstanding her guidance, an Assistant Principal
made the prohibited change to the student’s transcript approximately 8 months
later. 4 Id. at 9.

4
  The appellant also alleges for the first time on review that a colleague “asked for a
racial breakdown of student data to be used in a training where if data was
disaggregated it could identify students.” PFR File, Tab 1 at 7. The appellant states
that she “shared [her] discomfort with that and referred her to the District.” Id. The
appellant also states for the first time that the agency retaliated against her for an equal
employment opportunity (EEO) complaint. Id. at 10-11. Disclosures of practices made
unlawful by Title VII are not covered by 5 U.S.C. § 2302(b)(8). McCray v. Department
of the Army, 2023 MSPB 10, ¶ 21 (stating that activity and disclosures protected under
Title VII are not protected under 5 U.S.C. § 2302(b)(8)); Edwards v. Department of
Labor, 2022 MSPB 9, ¶¶ 10-22 (explaining that 5 U.S.C. § 2302(b)(8) does not include
disclosures of alleged wrongdoing under Title VII), aff’d, No. 2022-1967, 2023 WL
4398002 (Fed. Cir. July 7, 2023). Further, an appellant’s own EEO complaint in which
she does not seek to remedy reprisal for whistleblowing is not protected activity within
the Board’s IRA jurisdiction. Edwards, 2022 MSPB 9, ¶¶ 24-25 (finding that an
appellant’s complaints and disclosures to an agency’s EEO office seeking to remedy
purported Title VII retaliation were not within the purview of sections 5 U.S.C.
§ 2302(b)(9)(A)(i) or (b)(9)(B)); see McCray, 2023 MSPB 10, ¶¶ 26-30 (finding that an
employee’s pursuit of a grievance was not a protected activity under 5 U.S.C. § 2302(b)
(9)(C) because so interpreting that provision would effectively subsume (b)(9)(A),
which prohibits retaliation for the “exercise of any appeal, complaint, or grievance right
                                                                                           11

¶21         We next turn to whether the appellant has nonfrivolously alleged that her
      protected disclosure was a contributing factor in any of the alleged personnel
      actions. To satisfy the contributing factor criterion at the jurisdictional stage in
      an IRA appeal, an appellant need only raise a nonfrivolous allegation that the fact
      or content of the protected disclosure was one factor that tended to affect the
      personnel action in any way. Abernathy v. Department of the Army, 2022 MSPB
      37, ¶ 15. One way to establish contributing factor is the knowledge/timing test,
      under which an employee may nonfrivolously allege that the disclosure was a
      contributing factor in a personnel action through circumstantial evidence, such as
      evidence that the official taking the personnel action knew of the disclosure and
      that the personnel action occurred within a period of time such that a reasonable
      person could conclude that the disclosure was a contributing factor in the
      personnel action. Id. The knowledge portion of the knowledge/timing test can be
      met with allegations of either actual or constructive knowledge. Id. An appellant
      may establish an official’s constructive knowledge of a protected disclosure by
      demonstrating that an individual with actual knowledge of the disclosure
      influenced the official accused of taking the retaliatory action. Id.¶22         Here, the appellant alleges that, 8 months after she made her disclosure to a
      teacher that doing so was improper, the Assistant Principal changed the student’s
      transcript.     PFR File, Tab 1 at 9.     The appellant implies that the Assistant
      Principal was aware of the appellant’s disclosure when the Assistant Principal
      changed the student’s transcript. Id. Any doubt or ambiguity as to whether the
      appellant made nonfrivolous jurisdictional allegations should be resolved in favor
      of finding jurisdiction. Skarada v. Department of Veterans Affairs, 2022 MSPB
      17, ¶ 6.      Therefore, although the appellant has not explicitly claimed that the



      granted by any law, rule, or regulation”). The appellant has not alleged that she sought
      to remedy whistleblower reprisal in her EEO complaint. Therefore, her allegations
      regarding disclosures of her colleague’s request for information and her own EEO
      complaint do not confer Board jurisdiction over her appeal.
                                                                                       12

      Assistant Principal learned of the appellant’s disclosure, we conclude that she has
      nonfrivolously alleged that the Assistant Principal was aware of it.
¶23        The appellant alleged to OSC that the Assistant Principal was involved in
      the personnel actions taken against her. IAF, Tab 1 at 20-21. She has provided
      evidence on review that the Assistant Principal was present at the meeting at
      which the Principal presented the appellant with notice of her termination.
      PFR File, Tab 1 at 19-20. The appellant’s averments constitute a nonfrivolous
      allegation of constructive knowledge, i.e., that the Assistant Principal influenced
      the Principal’s decision to terminate the appellant’s employment and take the
      other alleged personnel actions.
¶24        The Board has held that personnel actions occurring within 1 to 2 years
      after the protected disclosures are sufficient to meet the timing portion of the
      knowledge/timing test. Abernathy, 2022 MSPB 27, ¶ 15. All of the personnel
      actions that the appellant raised with OSC allegedly took place between her
      March 2022 termination and May 2023, when OSC closed its investigation into
      her complaint. PFR File, Tab 1 at 17; IAF, Tab 1 at 20-21. Because the appellant
      asserts that the agency took these actions within 2 years of her January 2022
      disclosure, she has nonfrivolously alleged that she met the timing element of the
      knowledge/timing test. Because the appellant has established jurisdiction over
      her appeal, she is entitled to her requested hearing on the merits. IAF, Tab 1 at 2;
      See Cooper, 2023 MSPB 24, ¶ 22.
      The appellant has not established jurisdiction over her allegation that the agency
      violated her veterans’ preference rights.
¶25        The appellant alleged below, and reasserts on review, that the agency
      violated her veterans’ preference rights. IAF, Tab 1 at 5; PFR File, Tab 1 at 8.
      The administrative judge acknowledged the claim and advised the appellant that
      she could file a separate appeal with the Board under the Veterans Employment
      Opportunities Act of 1998 (VEOA). ID at 6 n.5. The Board has jurisdiction over
      a VEOA appeal when an appellant has exhausted her administrative remedies with
                                                                                        13

      the Department of Labor (DOL), makes a nonfrivolous allegation that she was a
      preference eligible, and nonfrivolously alleges that the agency violated a statute
      or regulation relating to veterans’ preference. Davis v. Department of Defense,
      2022 MSPB 20, ¶ 5 n.1.
¶26         The appellant indicated below that she has not filed a complaint with DOL.
      IAF, Tab 1 at 4. She does not state on review that she has cured this deficiency.
      If the appellant believes that she can establish jurisdiction over her claim that the
      agency violated her veterans’ preference rights, she may file a new appeal with
      the regional office. We express no opinion on the timeliness of, or the Board’s
      jurisdiction over, such an appeal.

                                            ORDER
¶27         For the reasons discussed above, we remand this case to the regional office
      for further adjudication of her IRA appeal in accordance with this Remand Order.




      FOR THE BOARD:                         ______________________________
                                             Gina K. Grippando
                                             Clerk of the Board
      Washington, D.C.
